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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §           CRIMINAL NO . H-06-260-01
                                                  §
SKYLER THOMAS RICE                                §


                          ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                          Findings of Fact

[]     A.        Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1)       The defendant has been convicted of a (federal offense) (state or local offense
                     that would have been a federal offense if a circumstance giving rise to federal
                     jurisdiction had existed) that is

                     []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                     []      an offense for which the maximum sentence is life imprisonment or
                             death.

                     []      an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                     []      a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

       [ ] (2)       The offense described in finding 1 was committed while the defendant was on
                     release pending trial for a federal, state or local offense.

       [ ] (3)       A period of not more than five years has elapsed since the (date of conviction)
                     (release of the defendant from imprisonment) for the offense described in
                     finding 1.
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       [ ] (4)       Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition
                     or combination of conditions will reasonably assure the safety of any other
                     person and the community. I further find that the defendant has not rebutted this
                     presumption.

[]     B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [ ] (1)       There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             () § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [ ] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance of
                     the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1)       Defendant is accused of conspiracy, making a firearm, possession of an
                     unregistered firearm, and possession of a firearm by a convicted felon.

       [X] (2)       There is a serious risk that the defendant will flee.

       [X] (3)       Defendant represents a danger to the community.

       [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                     justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                     to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1)       As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                     U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                     as required.

       [ ] (4)

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       [X ] (5)       I find that there is no condition or combination of conditions set forth in
                      18 U.S.C. § 3142(c) which will reasonably assure the safety of any other person
                      or the community.

                             Written Statement of Reasons for Detention

        I find that the accusations in the indictment, the evidence submitted at the hearing, and the
information submitted in the Pretrial Services Agency report establish by a preponderance of the
evidence that no condition or combination of conditions will reasonably assure the appearance of
the defendant as required and by clear and convincing evidence that no conditions will assure the
safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant Skyler Thomas Rice is a 22 year old male born in Austin, Texas.

       2.      Rice resides with his father and his brother, co-defendant Ian Charles-Tyler Rice. He
               has no property and has no significant financial ties to the community.

       3.      Rice has one brother and father living in the Houston area. He is engaged to Brittany
               Ryan Davis, a co-defendant in the indictment, who lives in the Houston area.

       4.      Rice poses a flight risk in view of his lack of significant financial ties to the
               community.

       5.      Rice is charged with conspiracy, making a firearm, possession of an unregistered
               firearm, and possession of a firearm by a convicted felon. He faces a penalty range
               of up to ten years confinement. The making a firearm charge involved the
               construction of an explosive device. Rice’s criminal history includes two felony
               convictions while a juvenile, felony drug conviction, conviction for evading arrest,
               and two misdemeanor theft convictions. In total, he has been charged with ten
               felonies and fifteen misdemeanors. He also has an extensive history of drug usage
               and mental health disorders.

       6.      Jones poses a danger to the community in view of his lengthy and continuing
               criminal history, and the violent nature of the charged offenses.

       7.         There is no condition or combination of conditions of release which would assure the
                  appearance of the defendant in court or the safety of the community. Detention is
                  ordered.




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                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.


       Signed at Houston, Texas, on August 11, 2006.




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